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   Special Report of the
Nunez Independent Monitor




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INTRODUCTION

          The Monitoring Team is issuing this Special Report to advise the Court and the Parties of

the continued imminent risk of harm to incarcerated individuals and staff in the New York City

jails. The first few months of 2022 have revealed the jails remain unstable and unsafe for both

inmates and staff. The volatility and instability in the jails is due, in no small part, to

unacceptable levels of fear of harm by detainees and staff alike. Despite initial hopes that the

Second Remedial Order (dkt. 398), entered in September 2021, would help the Department gain

traction toward initiating reform on the most immediate issues, the Department’s attempts to

implement the required remedial steps have faltered and, in some instances, regressed. These

failures suggest an even more discouraging picture about the prospect for material improvements

to the jails’ conditions. Furthermore, the Department’s staffing crisis continues and the New

York City Mayor’s Emergency Executive Order, first issued on September 15, 2021, and still in

effect (through multiple extensions) as of the filing of this report, acknowledges that, among

other things, “excessive staff absenteeism among correction officers and supervising officers has

contributed to a rise in unrest and disorder.” 1 The Monitoring Team’s staffing analysis, discussed

in detail below, reveals that the Department’s staff management and deployment practices are so

dysfunctional that if left unaddressed, sustainable and material advancement of systemic reform

will remain elusive, if not impossible, to attain.

          The goal of the Consent Judgment and corresponding Remedial Orders is to ensure that

the City and Department operate safe jails that meet Constitutional standards. It is the

responsibility of the City and the Department to develop and implement the reforms




1
    Mayor Eric Adams, Emergency Executive Order No. 57, March 14, 2022.


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required by the Consent Judgment, which, to date, the City and Department have failed to

do. The Monitoring Team’s responsibility is to provide the Court and the Parties with a neutral

and accurate assessment of the current state of affairs, identify any obstacles to reform, provide

compliance ratings, and provide recommendations for addressing areas where compliance has

not yet been achieved. The Monitoring Team is also a resource and provides technical assistance

to the Department on the development of initiatives required by the Consent Judgment and

Remedial Orders. The Monitoring Team’s work with the Department over the last six year has

revealed a depth of dysfunction, created over decades of mismanagement, that permeates the

entire system, and, in some cases, extends beyond the Department. The issues underpinning the

Department’s ability to reform have created a polycentric problem and represent a complicated

set of dysfunctional practices unlike any jail system with which the Monitoring Team has had

experience. The issues stymying reform are complex, with a number of interrelated “problem

centers” for which the solution to each is dependent upon finding the solution to some, if not all,

of the others. It is therefore impossible for the Department to improve the practices targeted by

the Consent Judgment without first addressing four foundational issues: (1) ineffective staff

management, supervision, and deployment; (2) poor security practices; (3) inadequate inmate

management; and (4) limited and protracted discipline for staff misconduct. 2 Solving these four

underlying problems requires a combination of deep expertise in corrections, an enduring vision,

and creativity to navigate the quagmire of bureaucracy and dysfunctional practices that have

developed over time. As discussed in more detail below, solving these problems cannot be




2
  See Twelfth Monitor’s Report at pgs. 10 to 16 for a detailed description of the four foundational issues
that are directly contributing to the Department’s inability to reform its practices.


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accomplished by the City and Department alone and will require the addition of some outside

expertise.

       The gravity of the current situation demands a comprehensive and tangible shift in the

City’s and Department’s focus and priorities, and a corresponding shift in the work of the

Monitoring Team in order to catalyze the necessary reforms as soon as possible. The Monitoring

Team has concluded that simply proceeding with monitoring-as-usual (i.e., bi-annual reporting

on the panoply of requirements, providing recommendations and the requisite technical

assistance) would only further protract the reform process and lead to the extension of oversight,

rather than hastening its end. Instead, more contemporaneous in-depth reporting on a more

limited set of issues, a change in focus with concrete steps and timelines, and appropriate

enforcement mechanisms and external resources are necessary if the agency is ever to be

reformed.

       In order to support the Court’s and Parties’ efforts to devise the appropriate remedial

scheme, this report provides a summary of the entrenched dysfunctional culture, a description of

the persistently unsafe conditions caused by deficient security and staffing practices, initial

findings of the Monitoring Team’s staffing analysis, an update on the Department’s efforts to

implement the Second and Third Remedial Orders, and finally, recommendations for next steps.

SECTION I. ENTRENCHED CULTURE OF DYSFUNCTION

       The Department’s multitude of nonfunctional systems and ineffective practices and

procedures combine to form a deeply entrenched culture of dysfunction. Deficiencies in core

foundational practices have been normalized and embedded in every facet of the Department’s

work. Indeed, recent site work (in February 2022) by the Monitoring Team reaffirmed this notion

as staff seemed to have accepted their lack of control and inability to create safety within the


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current environment. The Department is trapped in a state of persistent dysfunctionality, where

even the first step to improve practice is undercut by the absence of elementary skills and the

convolution of basic correctional practices and systems. This leaves the Department at an

impasse—in a place where many of the requirements of the Consent Judgment are simply

unattainable, and even the basic steps required by the Second Remedial Order are inaccessible

because the basic foundation needed to improve practice simply does not exist. The current

conditions—six years after the Consent Judgment went into effect—bring into stark relief that

the agency has shown itself, to date, incapable of implementing the changes in practice necessary

to achieve the goals of the Consent Judgment and the First and Second Remedial Orders.

       Normally, those in uniformed supervisory positions would be key facilitators for

transforming practice in any reform effort. Unfortunately, DOC supervisors have been unable to

lead this change due to lack of expertise and skills, limitations in their numbers compared with

the line staff they oversee, and illogical deployment practices which do not deploy them where

they could be most effective in supervising others. Supervisors are needed to elevate staff skill in

adhering to basic security practices (e.g. consistently locking doors), quelling disorder, reducing

interpersonal conflict, and ensuring that basic services are provided, all of which are precursors

to the fear and frustration among people in custody that lead to uses of force and violence. The

First Remedial Order attempted to fill the void in supervision by requiring the Department to

increase the number of Assistant Deputy Wardens and to ensure these supervisors were more

visible and active throughout the facility in order to elevate staff practice among their

subordinates. However, few, if any, additional ADWs have actually been deployed to supervise




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staff on the housing units. 3 A similar theory was behind the Monitoring Team’s frequent

recommendations to fortify the role of Captains in managing the housing units. In theory, if

supervisors have a consistent presence on the housing units, they can ensure staff are properly

posted and positioned, guide and develop staff’s practice, and hold staff accountable for properly

executing their duties. Unfortunately, the Monitoring Team’s staffing analysis revealed that a

large proportion of Captains are assigned to positions that do not involve supervising the housing

units, and thus are of limited value to the task of elevating staff skill.

         Further exacerbating the problem, the Monitoring Team’s ongoing review of key records

and observation of operational practices reveals that a large proportion of the Department’s

uniformed supervisors either do not have the aptitude and/or willingness to properly supervise

their subordinates, have limited engagement with staff on the housing units and do not provide

adequate supervision. A recent incident of inadequate supervision during a use of force incident

illustrates many of these issues.

    •    On January 31, 2022, an incarcerated individual removed his own restraints and resisted
         efforts to be re-restrained. A Deputy Warden was present and witnessed staff use a
         prohibited hold to take the incarcerated individual down. Staff then used a chokehold on
         the incarcerated individual to keep him down as they restrained him. Once restrained,
         staff tried to lift the incarcerated individual off the ground, but the individual collapsed.
         Body worn camera footage captured that while the incarcerated individual was on the
         ground that the supervising Deputy Warden, standing over the collapsed individual
         stated that the individual was doing a “very good acting job right now” and then stated
         “you’re not a very good actor just want to let you know, but I’ll bring the gurney down
         anyway.” The Deputy Warden overseeing the incident failed to act professionally, failed
         to supervise staff, failed to intervene on the use of a prohibited takedown and chokehold,
         and failed to render appropriate aid to the incarcerated individual. From start to finish
         this incident was a clear example of failed staff supervision.



3
  Generally, only one or two ADWs are on duty each shift and they are generally assigned the post of
Tour Commander (the sole point of contact for managing the tour for the entire Facility), which results in
little to no direct supervision of Captains. Therefore, Captains are not actively or effectively supervised
by their superiors and thus are not able to hone their skills in coaching line staff.


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       As discussed in more detail below, the lack of adequate supervision is what prompted the

creation of a supervisory checklist as part of the Second Remedial Order, although the

Monitoring Team observed while on site that it does not appear to be utilized by supervisors.

There are certainly some Supervisors who have the requisite skill set and/or willingness to

change, but some appear to have become resigned to the dismal state of affairs and dysfunction

that permeates so much of the system. In other words, what seemed like a viable strategy toward

reform turned out to be ineffective because of inaccurate assumptions regarding the core

expectations for Supervisors—that they are sensibly deployed, possess a certain level of skill-

mastery, and can effectively direct and regulate the conduct of their subordinates. This is a

microcosm of the larger problem inhibiting reform—that a seemingly viable strategy is rendered

ineffective because of the absence of key elements of basic practice.

       To the extent that Supervisors themselves require sound guidance in effective strategies

for improving staff practice, the Department recently demonstrated its own inability to provide

this guidance by issuing an order that created an imminent risk of harm just six days ago. As way

of background, in December 2021, the Department in collaboration with the Monitoring Team,

developed a teletype intended to help Supervisors effectively target poor staff practices,

including, among other items, properly securing doors and control stations. Unbeknownst to the

Monitoring Team, last week, the Department revised this teletype and removed some of the very

requirements that were needed to properly supervise staff on the housing units. Specifically, the

revised teletype inexplicably removed requirements for supervisory tours on housing units that

were unmanned or a staff member was off post. It also removed the requirements that

supervisors ensure that doors were properly secured. In other words, in the revised teletype,

agency leaders gave direction to supervisors that increases the risk of harm to people in custody



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and directly contradicted efforts to address one of the basic safety concerns, seemingly

sanctioning Supervisors abdication of responsibility for these issues. This simply defies sound

correctional practice. The circumstances surrounding the revision and issuance of the teletype

also raise serious concerns about the Department’s strategy for interfacing with the Monitoring

Team. These concerns are discussed in more detail in the “Management of Compliance” section

below.

         These foundational areas of dysfunction are not new and created over decades and across

many administrations. This is why it is critical to reform the core foundational practices that can

and must endure beyond a single administration. To date, with each new administration and/or

leadership change, the Department restarts the clock of reform, and initiatives built on solid

correctional practice are revised or abandoned before benefits are ever realized. This has been

particularly true over the past year in which three different administrations have cycled through

the agency, further destabilizing an already unstable agency. A durable pathway to reform must

be developed, one that focuses squarely on the underlying causes of the current conditions, and

which is mirrored by a new strategy for monitoring and enforcement that will endure across

administrations.

SECTION II. PERSISTENTLY UNSAFE CONDITIONS CAUSED BY DEFICIENT STAFFING &
SECURITY PRACTICES

         The Department’s facilities are unsafe. The use of force and violence in the jails are

inextricably linked to the Department’s mismanagement of staffing and its significant security

failures. The Department needs immediate security upgrades and quality staff management to

effectively and safely manage the incarcerated population. Instead, the Department is under

significant strain. The pandemic created a crisis on top of a crisis and has exacerbated the serious



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issues facing the agency. Staff are exhausted and stressed and have not been properly supported

with guidance and coaching to do the difficult work that is asked of them. Incarcerated

individuals are under extraordinary stress due to the surrounding chaos and violence in the jails,

a disruption in basic services, and because case processing has become unreasonably protracted. 4

        An in-depth examination of the various dynamics at play within the jails is provided

below. This includes a summary of the DOC’s staffing challenges, aggregate use of force and

violence data, a qualitative assessment of recent use of force incidents, the status of efforts to

improve security practices, the continued over-reliance on intake areas, and the Department’s

efforts to manage compliance.

DOC’s Staffing Challenges

        The Department’s staffing-related problems are directly linked to its deficient security

practices and directly impact the Department’s ability to achieve compliance with many of the

Consent Judgment requirements. Few if any gains have been made in returning staff to work, as

a significant portion either do not report to work or are on a modified status that does not allow

them to work directly with incarcerated individuals. The table below reveals that approximately

30% 5 of the workforce is not coming to work and/or is not available to work with incarcerated

individuals, with little change evident between August 2021 (when the Monitoring Team first

issued a report regarding this crisis) and the end of January 2022.




4
  The current overall length of stay for an incarcerated individual is about 100 days, which is three times
the national average (which is 30 days) and significantly exceeds most other large jail systems.
5
 The Department reports that some staff on MMR3 status may also be on additional status (e.g. sick, PE,
FMLA, AWOL, LWOP) so there could be some double counting of staff on MMR3 and another status.


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                                                                                      Reason Unavailable
                                                  Total #    Total # and %
                                                                                    Sick, PE,
          Date            Significance of Date    Uniform   UNAVAILABLE
                                                                                     FMLA,
                                                   Staff             6
                                                                                                  MMR3
                                                                                    AWOL,
                                                                                     LWOP
                           Filing of Monitor’s
     August 24, 2021                               8,434     2,415       28.63%   1675     20%   740    9%
                           First Status Report
                          Date of Mayor’s First
September 15, 2021                                 8,351     2,796       33.48%   2085     25%   711    9%
                            Executive Order
                          Date of DOC Vaccine
    December 1, 2021                               7,798     2,578       33.06%   1748     22%   830   11%
                                Mandate
                             Peak of Staff
    December 31, 2021                              7,770     3,522       45.33%   2864     37%   658    8%
                             Unavailability
                           Date that Data was
     January 26, 2022                              7,674     2,321       30.24%   1586 8   21%   735   10%
                            Last Provided 7

           It is true that 1,000 staff returned to work between the end of December 2021 and the end

of January 2022. But, as shown in the table above, the number of staff unavailable for work

spiked to over 3,500 at the end of December 2021, and thus the decrease observed at the end of

January 2022, simply returned the number of unavailable staff to August 2021 levels, a level that

had already been established as a significant crisis.

           The largest number of staff unavailable are out on sick leave, and the table below

provides a detailed look at staff unavailable only for that reason. While the number of staff on

sick leave has indeed come down from its peak on December 31, 2021, only marginal gains have

been made compared to August 24, 2021, when the crisis was first reported to the Court. As of

March 7, 2022, the number of staff on sick leave had only decreased by 71 staff from the August

24, 2021, level, which is 0.05% of the staff out sick on August 24, 2021. Over the last six weeks,



6
    See footnote above.
7
 Beginning on January 27, 2022, the Department stopped providing the Monitoring Team with certain
routine staffing data, although it continued providing sick leave data. Following significant negotiation,
on March 7, 2022, the Department committed to producing the information again.
8
 This number does not include any staff on Leave without Pay (“LWOP”) as the information for this day
was not available. Therefore, the number of staff unavailable on this day is likely higher than 1586.


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since the Department first began to report that this situation had “improved” at the end of

January, the number of staff out sick has decreased only 0.02% (22 staff). These changes are

nowhere near the magnitude necessary to constitute “improvement.”

                                                                  Total #
                                                                               Total Number of
           Date                   Significance of Date            Uniform
                                                                              Staff on Sick Leave
                                                                   Staff
      August 24, 2021        Filing of First Monitor's Report      8,434       1531     18.15%
       September 15,
                          Date of Mayor's First Executive Order    8,351       1725     20.66%
           2021
     December 1, 2021            Vaccine Mandate Date              7,798       1562     20.03%
     December 31, 2021         Peak of Staff Unavailability        7,770       2580     33.20%
      January 26, 2022    Last Date that Most Data was Provided    7,674       1482     19.31%
       March 7, 2022             Most Recent Sick Data               ~         1460        ~


       The City and Department’s approach to reducing the number of staff that are unavailable

to work with incarcerated individuals and enforcing Department policies as they relate to staff

absences is in flux with the recent change of administration, and some initiatives are different

from what was reported to the Court in fall 2021. 9 For example, at the end of January, the

Department stopped tracking absenteeism data in a centralized manner. The Department has

reported it will focus on addressing staff on sick leave and suspended about 30 staff for sick

leave abuse and one staff as AWOL in the first two months of 2022. The Department has also

revised its sick leave policy to require certain verification to occur on the third day out sick

rather than on the first day. The Department reported this change was made given that the

previous policy appeared to have the unintended consequence of keeping staff out of work longer

than necessary because of the difficulty in getting an appointment to verify their illness. A Senior

Deputy Commissioner who was focused on these issues left the Department in January 2022 and


9
 See Monitor’s November 17, 2021 Status Report to the Court on Conditions (dkt. 420), and City’s
October 14, 2021 Letter to Court on Conditions (dkt. 403).


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it is unknown whether his responsibilities have been transferred to another individual. Finally, it

is unclear what strategies, if any, the Department has currently deployed to address these staffing

issues, but the data above demonstrates that the City and Department have not been able to

adequately address the bloated number of staff out on sick leave.

       The Department’s staffing issues are perplexing and are driven by deeply ingrained

patterns of mismanagement and dysfunction. In relation to the size of the incarcerated population

it manages, the Department has more staff resources than any other correctional system with

which the Monitoring Team has had experience. The Department’s budget for fiscal year 2021

was $1.25 billion. This included over $153 million for uniform staff overtime—some of which

may be unavoidable, but overall is indicative of the pervasive mismanagement of the

Department’s key resource. A significant portion of the budget is allocated to staff wages and

benefits with 86% of the 2020 budget going to these line items. 10 The total average spending per

incarcerated individual per year skyrocketed to an all-time high of $556,539 in fiscal year

2021, 11 a per capita cost that is simply unparalleled. A national comparison of the per capita

costs of incarceration completed by the Vera Institute 12 last year, when the Department’s

spending per incarcerated individuals was $438,000 ($118,000 less than the current cost), found

not only that the Department spends more per incarcerated individual than any city in the nation,




10
  Vera Institute of Justice, “A Look Inside the New York City Correction Budget,” May 2021,
https://www.vera.org/downloads/publications/a-look-inside-the-new-york-city-correction-budget.pdf.
11
  New York City Comptroller’s Office (Budget Bureau), “NYC Department of Correction FYS 2011-21
OPERATING EXPENDITURES, JAIL POPULATION, COST PER INCARCERATED PERSON,
STAFFING RATIOS, PERFORMANCE MEASURE OUTCOMES, AND OVERTIME,” December
2021, https://comptroller.nyc.gov/wp-content/uploads/documents/DOC_Presentation_FY_2021.pdf.
12
  Vera Institute of Justice, “A Look Inside the New York City Correction Budget,” May 2021,
https://www.vera.org/downloads/publications/a-look-inside-the-new-york-city-correction-budget.pdf.


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but that it was at least three times higher than the next highest city and over 350% higher than

the cost per incarcerated individual in Los Angeles, California and Cook County, Illinois.




       Despite the bloated size of its workforce and its extraordinary budget, the agency has not

seen an appreciable improvement in the appalling conditions of confinement that are at the heart

of the Consent Judgment. Since 2018, the Department has been on the New York City

Comptroller’s “watch list,” which leads to closer scrutiny of agencies whose spending increases

rapidly year to year with only meager measurable results. 13 While the Comptroller



13
  New York City Comptroller (Bureau of Budget), “FY 2022 Agency Watch List - Department of
Correction,” March 2021, https://comptroller.nyc.gov/reports/agency-watch-list/fy-2022/department-of-
correction-fy2022/.


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acknowledged that “the [Department’s] budget has begun to contract [from 2017 to present, but]

the pace is far slower than declines in the jail population, leading to higher per-person costs.”

This cost data is shared to demonstrate that the issues facing the agency cannot be attributed to

insufficient resources (although additional resources are needed in a few areas, such as the Trials

Division, as discussed below), but rather raises the question of why, given the agency’s outsized

budget, it has consistently failed to improve conditions. Finally, the Department’s current

staffing practices also call in to question whether the Department is adequately managing its

resources.

Use of Force and Violence Data

       The Department’s poor practices regarding the use of force and its level of violence

caused concern for the Monitoring Team at the inception of the Consent Judgment, and the

Monitoring Team’s level of alarm has only increased over time as these rates continued to climb.

Use of force incidents are rife with examples of inadequate staff practice. An incident that

occurred just last month illustrates the multitude of issues driving the current state of affairs and

the adverse impact on both staff and incarcerated individuals.

       At OBCC, staff were rehousing an incarcerated individual when the individual
       was suddenly slashed by another incarcerated individual without provocation. An
       officer initially placed himself in front of the victim, but then the officer moved
       away from the victim, allowing yet another incarcerated individual to stab the
       victim. Another officer then used OC spray to break up the incident. After the staff
       escorted the victim out of the area, an incarcerated individual appears to remove
       personal items from the victim’s bag (no staff appeared to be present). The victim
       sustained a 2.5cm deep laceration that crossed from his ear to the top of his head,
       and a 2cm laceration to the eyebrow. Reports from counsel to the incarcerated
       individual claim he ultimately required emergency brain surgery to address the
       injury. During the incident, all security cameras were blocked or partially
       covered with tissue and toothpaste. The unit logbook contained many concerning
       entries from officers prior to the incident. One entry claimed that there was not an


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        officer on post until after the incident occurred. Further, throughout the day
        prior, multiple entries stated that multiple cell doors were unsecured, all cameras
        were covered, and the staff phone was inoperable. In two entries, the writer
        reported feeling “unsafe” and notified their supervisor. Despite these logbook
        entries, within 10 minutes of the incident occurring, a logbook entry indicated a
        Captain conducted an unannounced tour and stated, “no incidents [were]
        reported.”
        In 2016, the Department’s average use of force rate was 4.02, and given that the many

protections and practices required by Nunez had not yet been implemented, this represented a de

facto baseline. A decrease in the use of force rate over time was expected as reforms took hold.

Unfortunately, the exact opposite has occurred. The average use of force rate has increased each

year, and in 2021, the rate (12.23) was the highest it has ever been, approximately 200% higher

than the rate in 2016 (4.02) that gave rise to the Consent Judgment. 14 Similarly, data on fights

among people in custody, especially the number of stabbings and slashings that have occurred,

reveal that the jails have become more dangerous over time. More specifically, despite an

average daily population that is 40% lower than in 2016, there were more fights among people in

custody in 2021 (6,007 in 2016 versus 6,264 in 2021). The beginning of 2022 has started out no

better; the 48 stabbing/slashings that occurred in January 2022 ranked as the second highest

monthly total since the Consent Judgement took effect.

        An unfortunate and dangerous side effect of these high rates of use of force and violence

is that they have become normalized and have seemingly lost their power to instill a sense of

urgency among those with the power to make change. The Monitoring Team must emphasize

that these high rates are not typical, they are not expected, they are not normal. Quite the




 The monthly use of force rate has fluctuated throughout the life of the Consent Judgment and so the
14

Monitoring Team cautions against assessing progress via changes over a month or two. The Department
must sustain substantial reductions in the rate of use of force to demonstrate progress in staff practice.


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contrary: they are abnormal, they in no way conform to generally accepted practices in the field,

and thus they must catalyze an urgency that befits the gravity of the situation. As shown in the

chart below, the rate of violence in the City’s jails is seven to eight times higher than those

observed in other correctional systems. 15


                            Annual Rate of Fights and Staff Assaults, per 100 population
                               New York City, New York State, Los Angeles County
           180
                                                                                        161
           160
           140
           120                                       114

           100
            80
            60         47
            40
                                                                     18                                21
            20                                                                                  7
                                3         3                  3
             0
                         Staff Assaults                    Fights                              Total

                                    New York City   New York State        Los Angeles County



Assessment of Recent Incidents in 2022

          In addition to the very troubling quantitative data, the Monitoring Team’s review of

incidents from January 2022 revealed that poor staff practices continue. Staff’s inability or lack

of willingness to utilize basic security practices leads directly to violence among people in

custody and to uses of force that were completely preventable.

          In January 2022, the Department reported at least 40 incidents in which incarcerated

individuals exited unauthorized from cells, pens, housing units or other areas and approximately



15
     Personal communication, Dr. James Austin, March 7, 2022.


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60 instances of security breaches resulting in incidents of force and violence among people in

custody—all in a single month. Security breaches included basic errors such as unsecured doors,

leaving incarcerated individuals unsupervised, allowing individuals to congregate in vestibules,

officers going off post, A-station breaches, improper use of restraints, and failing to intervene as

tensions escalated. Despite these clear staff failures, there have been only two suspensions of

staff for use of force-related misconduct in January and February 2022 (a concerning decline,

especially given the levels of misconduct identified).

       Three incidents involving incarcerated individuals exiting areas unauthorized occurred

during a 5-day period in early January at three separate facilities that illustrate the pervasiveness

of these problems. While commonplace in the New York City jails, these incidents would be

considered major events in any other jail system.

•   On 1/3/22 at EMTC, incarcerated individuals had complained of not receiving required
    meals for two days. Approximately 25-30 individuals barricaded themselves, prompting
    approximately 15 ESU and Probe Team staff to enter the housing unit. Their entry was
    nonetheless delayed due to not having the correct key to open the housing unit door.
    Chemical agents (including OC grenades) were deployed, after which medical services were
    delayed due to staff shortages.
•   On 1/5/22 at GRVC, approximately 30 incarcerated individuals were involved in a
    disturbance when staff failed to secure doors, including a pantry door. This allowed some of
    the individuals to gain entry to an adjacent housing unit. Various assaults ensued.
    Approximately 30 ESU and Probe Team staff responded, dispersing OC grenades and
    chemical agents. Several detained individuals sustained injuries and medical attention was
    once again delayed.
•   On 1/8/22 at RNDC, approximately 30 incarcerated individuals entered a corridor
    unauthorized and 28 staff deployed chemical agents, OC grenades and hands-on force to
    secure the individuals. Once secured, the group of individuals were returned to their housing
    units, where a Captain advised that the unit’s doors could not be secured. A number of
    incarcerated individuals sustained Class A injuries, but medical attention was once again
    delayed. Reportedly one individual required sutures, but a 16-hour delay to receive medical
    attention meant the sutures could not be applied. Another individual who was rear-cuffed,
    kneeling and facing a dayroom wall was gratuitously struck in the head by an officer who
    used enough force to knock the individual prone to the floor.




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RNDC

        The Monitoring Team continues to closely scrutinize the operations of RNDC, where the

majority of 18-year-olds and all young adults are living and, unfortunately, where a large portion

of violence, disorder, poor practice, and avoidable uses of force continues to occur. The

condition of this facility has been of grave concern since the inception of the Consent Judgment

and has only increased as, time after time, strategies to quell violence, increase programming and

incentives, properly manage young adults’ behavior, and improve staff practice have failed or

been abandoned with the revolving door of agency and facility leaders. While the discussion

below focuses on RNDC, the problems are not confined to this one facility but rather occur

throughout the facilities managed by the Department.

        A review of Department records and assessments of RNDC incidents from a single

month—January 2022—revealed a large number of troubling events triggered by staff’s failure

to adhere to basic security practices.

   •    Incarcerated individuals took an officer’s OC cannister and assaulted him, causing a scalp

        contusion, concussion with loss of consciousness, nasal deviation, and knee strain.

   •    On four separate occasions, groups of between 6 and 38 incarcerated individuals exited

        their housing areas unauthorized, and some were able to gain entry to other housing units

        that had been left unsecured.

   •    On January 2, 2022, an individual was stabbed after a staff member walked off their post.

        The housing area lights were also off, which is against protocol. These staffing and

        security breaches created the opportunity for the stabbing to occur. After the incident, the

        perpetrator was observed without flex cuffs during multiple escorts and was placed in

        intake for over 24 hours. In intake, he was placed in the wrong pen, and then placed in a


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     pen with another individual. It took two days to transfer the perpetrator, and at one point,

     he was brought back to his original dorm where he was left unsecured and able to interact

     with other incarcerated individuals. The perpetrator was not body scanned until after he

     went to the clinic, giving him time to hide or dispose of the weapon. None of the four

     expectations of the Department’s Post-Incident Management protocol were met: the

     perpetrator was not properly isolated from others after the incident; the potential to

     exchange or abandon contraband was not properly limited because the individuals were

     not body scanned as soon as possible; and the individuals were not properly transferred to

     more secure locations consistent with the protocol.

•    Multiple incidents were identified where staff members were off post, leading to serious

     violence among the incarcerated individuals. If staff members are off post, it is axiomatic

     that timely interventions in acts of violence are impossible. It also gives rise to questions

     of how much violence goes unreported given the frequency of unmanned posts. A few

     examples of incidents that occurred in late January while staff were off post and/or

     unmanned are below:

        o Incarcerated individuals were sitting at and crowding an empty B-post desk.
          Several individuals then got up and entered a cell with an unsecured door, chased
          another individual out of that cell, and violently assaulted him. Video confirmed
          that the individuals were armed with weapons. The incarcerated individuals then
          dragged the victim toward the B-post area, and violently continued their assault
          near the housing unit’s door. After a prolonged period of time, an officer exits the
          A station and sprays OC through the door to move the assailants away from the
          victim. A Command Discipline was issued for the officer who was off post. The
          officer said he was off post because the incarcerated individuals threatened him
          with a weapon, so he was scared for his safety and notified his supervisor.
        o Two individuals were fighting near the B-post/ “No Go” zone and no staff were
          present. Video captured multiple unsecured cell doors and other cameras were
          partially obstructed. As the individuals fought, two staff members can be seen
          exiting the A station. When staff enter the housing area, they briefly leave the


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        vestibule door unsecured. Once in the housing area, they separated the
        individuals and ordered others to remove the camera obstructions. A Command
        Discipline was issued for the officer who was off post.
    o The B-post in one housing unit was unmanned and several nearby doors were
      unsecured, allowing individuals from that unit to exit the unit and move freely
      through corridors and stairways in an effort to get to housing unit across the way.
      Several of the individuals were also able to obtain broomsticks and hot water
      tanks. These individuals from the first housing unit kicked open the door to the
      other housing unit, but staff from that unit deployed OC to force the individuals to
      retreat.
    o Another incident occurred on a housing unit that was unmanned due to
      insufficient staffing as both officers assigned to a unit were reassigned. The cell
      doors on the unit were not secured. A fight began in the housing area hallway and
      escalated when multiple individuals pushed the victim into an unsecured cell. The
      victim sustained a 9cm laceration to his cheek, a 3cm laceration near his eye, a
      2cm laceration on his shoulder and a 1.5cm laceration on his bicep. He also had
      multiple abrasions on his neck and hand. Staff did not arrive on the housing unit
      until 25 minutes later and during this window, multiple individuals entered the
      unlocked cell and appeared to leave with commissary items. When staff finally
      arrived to lock in the unit, no cell doors were ever secured. No corrective action
      or discipline was taken against any officer or supervisor.
    o While staff were off post, an individual was slashed in the face. The incident was
      not captured on security cameras, as the cameras were obstructed. At one point,
      staff even arrived to wipe the obstructed cameras, but the staff did not discover
      the victim within his cell. For at least an hour and a half prior to the incident, no
      staff appeared on post on the floor. Multiple individuals were observed going in
      and out of cells without assistance or authorization from an officer. Before the
      victim was discovered, staff came to the housing unit on three separate occasions
      without noticing him. The first staff appearance was to wipe the obstructed
      cameras. The second staff appearance was to facilitate providing meals (which
      were not conducted in accordance with DOC policies or procedures). The third
      staff appearance was to gather individuals for recreation time. The victim was
      discovered on the fourth staff appearance, when a Captain arrived to do a tour of
      the area and opened his cell door. The victim exited his cell with multiple face
      lacerations and is observed wiping blood with a towel. The housing unit was not
      secured for approximately four and a half hours after the victim was discovered,
      during which time individuals roamed freely amongst the cells and housing unit.
      According to the post-incident management policy, the housing unit should have




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               been placed under lockdown immediately after the victim was discovered. No
               perpetrator was ever identified.
       In addition to these dangerous incidents precipitated by staff’s blatant security failures,

NCU conducted an assessment of staff resources at RNDC using a one-day snapshot from

January 2022 to illustrate why the Department was demonstrating so little progress with the

consistent staffing requirements of the Consent Judgment and Remedial Order for this facility. 16

As an initial matter, NCU found a number of discrepancies in the various sources of information

(e.g., facility records, HR records, and the Office of Administration) relating to the status of the

officers and the number of officers actually assigned to RNDC. This is consistent with the

Monitoring Team’s staffing analysis which found that the Department cannot accurately identify

where staff are assigned or their status at any given time.

       For its analysis, NCU’s best estimate was that 929 officers were assigned to RNDC. Of

these, nearly half (n=454, or 49%) were unavailable to be assigned directly to a post engaged

with incarcerated persons because they were either out on indefinite sick leave (out for 30 days

or more), on restricted or modified duty, out for family medical leave, assigned on temporary

duty to another command, or out on military leave. At best, only half of the facility’s workforce

was available for coverage and, on any given tour, that number is then further reduced by those

who call in sick, attend training, take scheduled vacation, etc. NCU’s findings confirmed a key

element of the Monitoring Team’s staffing analysis—that a significant proportion of the

workforce has been deemed “unavailable to work.” Thus, without considerable and targeted

improvements in the efficiency, oversight and management of these job statuses, the Department




16
  § XV (Safety and Supervision of Inmates Under the Age of 19) ¶ 17 of the Consent Judgment and § D
(18-Year-Old Incarcerated Individuals at RNDC), ¶ 1.


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will continue to be unable to stabilize its workforce, properly staff its facilities and achieve many

of the requirements of the Consent Judgment and Remedial Orders.

       To its credit, in late February 2022, the Department developed some targeted action steps

to curtail the violence that has plagued RNDC. The steps require concurrent efforts from the

Department’s Programs Division, the Office of the Chief of Security, Custody Management and

Facility Leadership, and include actions to redistribute Security Risk Group (“SRG”)-affiliated

people so that affiliates of any one SRG are not concentrated in individual housing units; to

restrict the facility’s ability to re-house people autonomously; conducting security sweeps;

increasing the number of staff assigned to certain housing units; redeploying some of the

uniformed staff assigned to non-custodial posts; increasing programming designed to reduce

violence delivered by both internal and external providers; increasing supervision by Captains;

and ensuring that those who commit violence are held accountable via the infraction process.

These are all steps in the right direction to improve the level of safety at RNDC. Their successful

implementation will require a new level of tenacity and creativity to overcome the many barriers

that have historically thwarted similar strategies. The Monitoring Team intends to closely

monitor these initiatives and is prepared to offer any type of support or assistance to increase the

likelihood of success.

Status of Efforts to Improve Basic Security Practices

       The effort to reduce the use of force and quell disorder must begin with a focus on basic

security practices, as the Monitoring Team has emphasized repeatedly, most recently in its

Twelfth Report and numerous Court filings last fall and winter. An interim security plan was

developed pursuant to the Second Remedial Order which included reasonable and sensible

initiatives to address security-related practices. However, to date, the Department has failed to


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meaningfully implement solutions to any of the immediate problems such as unsecured doors,

post abandonment, poor key control, outdated post orders, escorted movement with restraints

when required, incarcerated individuals congregating around secure ingress/egress doors, poorly

managed vestibules, and poorly secured OC spray.

       Separately, the Monitoring Team has also provided the Department with written feedback

to promote the development of a long-term robust security strategy, including improved search

practices (February 2021), Emergency Response Team practices (June 2021), and to address the

use of chemical grenades and the Pepperball System (August 2021). While the Department

began some initial work to address its search procedures, the initiative was halted in spring 2021

and has not been reinvigorated. With respect to Emergency Response Teams, the Monitoring

Team met with Department leadership in June 2021 and appeared to achieve consensus that these

practices needed immediate focus; however, the Department took no subsequent action. The

Department recently reported its intention to address all three sets of feedback once a leadership

team is put in place in 2022.

       The Monitoring Team fully appreciates that the current dearth of security expertise limits

the agency’s ability to adequately address these issues, which only reinforces the immediacy of

the need to address the Monitoring Team’s recommendations regarding the Security Operations

Manager and expanded criteria for selecting Wardens. These recommendations were made

nearly six and ten months ago, respectively, but have yet to be addressed by the agency. This

issue illustrates the poly-centric nature of the Department’s issues—that the solution to one

problem depends heavily on the solution of another.

Dire Conditions in Intake




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        The Department’s overreliance on the use of intake continues to create a dangerous and

chaotic environment for incarcerated individuals. Last summer, the conditions of the facilities’

intake units further imploded. Some incarcerated individuals remained in intake for days, if not

weeks, in horrifying conditions. These chaotic conditions directly resulted in harm to

incarcerated individuals. The Monitoring Team’s February 2022 site visit found the conditions at

one intake to be particularly distressing – a toilet was overflowing with feces and an individual

was sleeping on the floor outside one of the intake pens. If staff were aware of these problems

prior to the Monitoring Team’s visit, they did nothing to correct the situations. In addition to

poorly supervised spaces and unsanitary conditions in these units, the risk of violence to

individuals in intake is also a continuing cause for concern. Two disturbing incidents of

unreported misconduct were identified as a result of heightened scrutiny from the Monitoring

Team.

   •    In August 2021, an incarcerated individual held in an intake cell was beaten by another
        detainee and suffered significant injuries—he is paralyzed from the neck down and had
        multiple broken ribs and a collapsed lung which necessitated a ventilator. This assault
        was not reported and so it was not investigated through the normal channels; instead,
        Monitoring Team’s inquiries brought this otherwise unreported assault to light. The
        facility did not report the assault and no injury report was generated. The Department of
        Investigations reports it is now investigating the incident.
   •    In January 2022, during an audit requested by the Monitoring Team and conducted by
        NCU, an individual held in intake at a Facility for at least 5 days was observed engaging
        in sexual misconduct with individuals in intake on multiple occasions. None of the
        misconduct was detected by facility intake staff and came to light only as a result of
        NCU’s audit.

        The problem with the overuse of intake is linked to a number of other issues that are

subject to Remedial Order requirements. First, one of the underlying causes of the chaos in

intake units is the facilities’ routine practice of transporting individuals to intake following a use

of force. This problem is meant to be addressed, among other things, by the development of a


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revised de-escalation protocol (per the First Remedial Order, § A, ¶ 3), the implementation Post-

Incident Management protocol (per the Second Remedial Order, ¶ 1(i)(e)), and improved

housing practices (per the Second Remedial Order, ¶ 1(i)(f)). The Department has reported, and

the Monitoring Team’s site work confirmed, that many individuals are left in intake because the

facility is unable to house the individuals on a housing unit. One of the reasons that facilities

report rehousing to be difficult is that SRG-affiliated residents of various housing units often

refuse to allow an individual to be housed there, at which point the individual is returned to the

intake unit to await a different housing assignment. The concentration of SRG-affiliated

individuals in certain housing units is discussed in more detail in the Classification section,

below. The problems plaguing intake illustrate yet another poly-centric issue.

Department’s Management of Compliance and Its Consultation with Monitoring Team

       Transparency, proactive coordination, and cooperation between the Department and the

Monitoring Team are necessary to advance the reforms and for the Monitoring Team to do its

work. It is for this reason that to perform his duties, the Monitor (and his team) is provided

access to, among other things, non-privileged documents and information, and the right to

conduct confidential interviews of staff members outside the presence of other staff members

pursuant to Consent Judgment § XX, ¶ 8 of the Consent Judgment. The Department must also

encourage all staff members to cooperate fully with the Monitor and his staff (Consent Judgment

§ XX, ¶ 13). These requirements support a transparent and candid relationship between the

Department and the Monitoring Team and is intended to advance reforms as efficiently as

possible. The Consent Judgment and Remedial Orders also require the Department to consult

with the Monitoring Team, and in some cases obtain approval from the Monitor, on a significant

number of requirements in the Consent Judgment and Remedial Orders, which requires



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coordination and document sharing. Further, access to the relevant information and open,

transparent communication both facilitate compliance—and, ultimately, the end of external

oversight. This is why the Monitoring Team has long advocated for communicating directly with

facility operators and staff in key Divisions as it helps those individuals to better understand

Nunez’s requirements and creates ownership and accountability in the reforms. 17

       The work of the Nunez Compliance Unit (“NCU”) is a bright spot in the otherwise

dismal state of affairs and must be acknowledged and commended. NCU is led by a smart,

dedicated, reform-minded individual who, despite the many challenges in this Department, has

managed a team that has supported the development of critical and reliable information about the

Department’s efforts to implement the various requirements of the Consent Judgment and

Remedial Orders, which is referenced in this report and prior Monitor reports. The work of NCU

is an important step to advancing reforms as it provides the Department the ability to internally

identify the current state of affairs, which, in turn, allows the Department to address obstacles

and barriers to compliance and ultimately support the pathway to end external oversight.

       Since the New Year, the Department has altered its management of its compliance efforts

with the Monitoring Team to essentially eliminate the proactive and collaborative approach that

previously existed, reduced its level of cooperation, and limited its information-sharing and

access in ways which inhibit the work of the Monitoring Team. Nearly all of the Monitoring

Team’s communications are now managed by the Department’s Legal Division (with relevant




17
  See Tenth Monitor’s Report at pgs. 216: “Significant involvement and buy-in from all Divisions of the
Department is needed to successfully implement the enumerated reforms of the Consent Judgment. The
Monitoring Team continues to strongly encourage ownership and focus by uniform staff in advancing the
Nunez requirements, which has been lacking.” See also Fourth Monitor’s Report at pg. 202, Fifth
Monitor’s Report at pg. 139, Sixth Monitor’s Report at pg. 148, Seventh Monitor’s Report at pgs. 188-
189, Eighth Monitor’s Report at pg. 215, and Ninth Monitor’s Report at. Pgs. 245-246.


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information shared by NCU). The Department’s approach to filter most information through the

Legal Division inhibits the Monitoring Team’s access to information and hinders its efforts to

provide factually accurate information to the Parties and the Court and to facilitate improvement.

Further, while the Department previously proactively identified initiatives underway to seek

input and/or collaborate, that no longer occurs as it should. Below are a few examples of the

issues the Monitoring Team has encountered in the last few months:

   •    Refusal to Provide Staffing Data: The Department recently refused to provide staffing

        data related to staff absenteeism, which had previously been shared on a routine basis,

        under the erroneous position that the Monitoring Team was not entitled to the

        information. The Monitoring Team expended significant time and effort to obtain this

        data which clearly, under the terms of the Consent Judgment and the Second Remedial

        Order, must be provided. After over a month of discussions, the City and Department

        acknowledged that the Monitoring Team is entitled to the information and reported that

        the data will now be produced beginning in late March.

   •    Interference with Communications with DOC Staff: In late January an Interim Deputy

        Commissioner of ID was appointed, but the Monitoring Team was not advised of this

        appointment until the Monitoring Team inquired about the leadership for ID, a division

        with significant Nunez responsibilities. Two members of the Monitoring Team sought to

        have an introductory phone conversation with the Interim Deputy Commissioner upon

        learning of her appointment. The Department initially attempted to delay providing the

        Monitoring Team with her contact information and then claimed that a member of the

        Department’s leadership team must be present on the call. The Monitor advised the

        Department that the ability to speak with DOC staff confidentially and outside the




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          presence of other DOC staff was permitted under the terms of the Consent Judgment

          (discussed above) and necessary for the Monitor to have candid and transparent

          conversations, so the presence of a member of the DOC executive team on the call would

          be inappropriate and unacceptable. 18

     •    Refusal to Provide Briefing on Safety & Security Initiatives: In mid-February, the

          Monitoring Team requested a briefing on any safety and security initiatives underway

          given the lack of information provided proactively by the Department. The Department

          advised that there was no time to provide such a briefing to the Monitoring Team, but, a

          few weeks later (in early March), the Department shared a memo regarding certain

          security initiatives underway at RNDC. Over a month later, as of the filing of this report,

          a detailed briefing on any safety and security initiatives underway in the Department has

          not been provided to the Monitoring Team.

     •    Refusal to Consult & Advise on Orders Posing an Imminent Risk of Harm: Yesterday, the

          day before filing this report, the Monitoring Team discovered that a week ago, on March

          9, the Department had materially altered instructions for supervisory tours. The original

          version of this order had been developed in consultation with the Monitoring Team, as

          discussed in the “Entrenched Culture of Dysfunction” section, above. The Monitoring

          Team was not consulted (as it should have been) on the revisions, was not advised (as it

          should have been) that the order was promulgated, and was not advised (as it should have

          been) when agency leaders themselves recognized that the revised teletype ran afoul of

          Nunez requirements, created an imminent risk of harm, and needed to be rescinded. In




 The introductory call was subsequently scheduled with the Monitor, Deputy Monitor and interim
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Deputy Commissioner of ID.


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       fact, it appears a decision was made not to inform the Monitoring Team that a problem

       had been detected. Department leadership have since reported that it intended to

       “quickly” address the issue by rescinding the order, drafting revisions to the order, and

       then it would consult and advise the Monitoring Team. However, the veracity of these

       claims are suspect, at best. The order was not rescinded in the five days after it was

       identified by Department leadership and it was only rescinded yesterday after the

       Monitoring Team expressed significant concerns about the imminent risk of harm the

       revised policy presented. Further, revisions to the order have not been provided nor was

       any information provided to suggest revisions are under development.

       It is unclear whether there is a concerted effort to minimize the information being shared

with the Monitoring Team or whether the individuals responsible for coordinating with the

Monitoring Team are not privy to the relevant information. Either way, the lack of open and

transparent communication and information is deeply troubling. The Department’s current

approach to working with the Monitoring Team is counterproductive and circumvents

obligations to consult with the Monitor and to ensure that new practices or tools do not run afoul

of Nunez requirements. This type of faulty, untenable approach—of avoiding consultation and

hiding the discovery of problems—seriously compromises the Monitoring Team’s confidence in

the information it is provided. It is critical for the Monitoring Team to have current and reliable

information in order to accurately assess the current state of affairs.

       Prior to this sea change, the City and Department were able to balance the ability to

contemporaneously share information, manage its other responsibilities, and maintain a

collaborative relationship with the Monitoring Team so it is clearly not only possible, but

feasible for the Department to maintain a transparent, collaborative, and cooperative relationship




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with the Monitoring Team. The Monitoring Team has attempted to improve relations with the

Department and shared its concerns and frustrations about these issues with Department

leadership on numerous occasions. The Monitoring Team has also met with the City’s new

Corporation Counsel and her team about the ways in which the Department’s approach to

working with the Monitoring Team is impeding our work. In an effort to mitigate these issues,

the Monitoring Team also encouraged the Department to reinforce the Department’s obligations

to maintain an open and transparent relationship with the Monitoring Team in hopes this would

alleviate some of these issues. The Department advised the Monitoring Team that Staff were

already aware of their obligations.

        Despite these efforts, little to no progress has been made, and the Monitoring Team is

incredibly disappointed to report that it has lost confidence that it has access to all of the relevant

and reliable information necessary to perform its duties. The Monitoring Team believes we have

exhausted our ability to address this issue and that clear and direct orders from the Court are

necessary to ensure the Monitoring Team obtains the information needed to perform our

responsibilities under the Consent Judgment and Remedial Orders. Accordingly, the Monitoring

Team respectfully requests that the Court direct the Department to return to fully proactive and

transparent communication practices with the Monitoring Team. Specifically, the Department

must:

   1. Timely provide all information requested by the Monitoring Team necessary to fulfill its

        duties.

   2. Engage in proactive consultation when new practices or staff guidance are being

        contemplated that relate to requirements of the Consent Judgment and Remedial Orders.




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     3. Provide the Monitoring Team with unencumbered, direct access to Department staff at all

          levels.

     4. Proactively inform the Monitoring Team when problems have been detected that impact

          the Department’s compliance with Consent Judgment and Remedial Orders, including

          any issues that may result in the risk of harm to people in custody.

SECTION III. UPDATE ON MONITORING TEAM’S STAFFING ANALYSIS

          The Monitoring Team has long identified significant problems with the Department’s

efforts to manage its workforce responsibly, deploy its workforce appropriately, and supervise its

workforce capably. These problems are mutually reinforcing in myriad ways as described

throughout this report and every Monitor’s Report to date. 19 The poor condition and capacity of

the Department’s workforce is the core reason why the efforts to integrate the responsibilities

and requirements of the Consent Judgment (and Remedial Orders) into staff practice have failed

time after time.

          A recent incident provides a vivid example of staff dysfunction within the Department on

several levels and the resulting major use of unnecessary and excessive force by staff. The badly

mismanaged incident was avoidable, precipitated, and exacerbated by staff-related ineptitude and

over-confrontational behavior all too common in the Department.

     •    On January 30, 2022, at EMTC, a detainee in a dorm housing unit went into medical
          distress convulsing on his bed. Detainees immediately attempted to attend to him while
          others went to summon help. As there was no officer in the housing unit, detainees
          appealed to the A-Station officer to summon medical assistance. The detainees became
          increasingly agitated during the almost ten minutes when there was no response from
          staff to attend to the medical emergency, at one point throwing a trash container against
          the A-Station window in an apparent attempt to prompt the officer to respond to the

19
   See Seventh Monitor’s Report at pg. 24-25, Eighth Monitor’s Report at pg. 7, Ninth Monitor’s Report
at pg. 23, Tenth Monitor’s Report at pgs. 25-29, Eleventh Monitor’s Report pg. 10-14, and Twelfth
Monitor’s Report at pgs. 33-35.


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